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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )               Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
____________________________________)

                                           ORDER

       Upon consideration of defendant Roger J. Stone, Jr.’s unopposed Motion to Modify

Permission to Travel [Dkt. # 177], the motion is GRANTED.

       It is ORDERED that the defendant may travel to:

              1. Stamford, Connecticut from September 6 to September 8, 2019;
              2. Buffalo, New York from September 12 to September 14, 2019;
              3. Los Angeles California from September 19 to September 20, 2019;
              4. Tarzana, California on September 21, 2019;
              5. Encinitas, California on September 22, 2019;
              6. Woodland Hills, California on September 23, 2019.

       Defendant shall provide Pretrial Services with a copy of this Order and his specific

travel itinerary for each trip prior to his departure from the Southern District of Florida.

Defendant may not travel to any location aside from that set out above and must contact Pretrial

Services within the first business day by telephone upon his return.

       SO ORDERED.




                                            AMY BERMAN JACKSON
                                            United States District Judge
DATE: August 15, 2019
